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      The United States is 'looking at' banning TikTok and other Chinese
  social media apps, Pompeo says
  By Jill Disis and Jennifer Hansler, CNN Business
  Updated 8:08 AM ET, Tue July 7, 2020



  Hong Kong/Washington (CNN Business) — The United States is "looking at" banning Chinese social media apps,
  including TikTok, Secretary of State Mike Pompeo said Monday.

  Pompeo suggested the possible move during an interview with Fox News' Laura Ingraham, adding that "we're
  taking this very seriously."

  Pompeo was asked by Ingraham whether the United States should be considering a ban on Chinese social media
  apps, "especially TikTok."

  "With respect to Chinese apps on people's cell phones, I can assure you the United States will get this one right
                                                                                                      LIVE TV
  too, Laura," he said. "I don't want to get out in front of the President [Donald Trump], but it's something we're
  looking at."

                                                                 Washington's top diplomat added that people should only
                                                                 download the app "if you want your private information in the
                                                                 hands of the Chinese Communist Party."

                                                                 "TikTok is led by an American CEO, with hundreds of
                                                                 employees and key leaders across safety, security, product,
                                                                 and public policy here in the US," a TikTok spokesperson said
                                                                 in a statement following Pompeo's comments. "We have no
                                                                 higher priority than promoting a safe and secure app
                                                                 experience for our users. We have never provided user data to
                                                                 the Chinese government, nor would we do so if asked."

    Related Article: TikTok is leaving Hong Kong                 Pompeo's remarks come during a time of heightened
    following controversial national security law                tensions between the United States and China, which have
                                                                 spilled over into several arenas including national security,
                                                                 trade and technology.

  TikTok — which is owned by Beijing-based startup ByteDance — has been repeatedly criticized by US politicians
  who accused the short-form video app of being a threat to national security because of its ties to China. They
  allege that the company could be compelled to "support and cooperate with intelligence work controlled by the
  Chinese Communist Party."

  TikTok has said previously that it operates separately from ByteDance. It says its data centers are located entirely
  outside of China, and that none of that data is subject to Chinese law. US user data is stored in the United States,
  with a backup in Singapore, according to TikTok. A spokesperson for the company told CNN Business in May that
  it thinks the national security concerns are "unfounded."

  The app has exploded in popularity in the United States and other western countries, becoming the ﬁrst Chinese
  social media platform to gain signiﬁcant traction with users outside of its home country. It was downloaded 315
  million times in the ﬁrst three months of this year, more quarterly downloads than any other app in history,
  according to analytics company Sensor Tower.

  The company has also run into roadblocks elsewhere. Last week, the Indian government said it would ban TikTok
  and other well-known Chinese apps because they pose a "threat to sovereignty and integrity." Tensions between
  India and China have been escalating after a clash along the Himalayan border.
https://www.cnn.com/2020/07/07/tech/us-tiktok-ban/index.html                                                                     1/3
